
McBRIDE, Judge.
This is one of the eight consolidated appeals mentioned by us in Louisiana Power and Light Company v. de Bouchel et al., La.App., 143 So.2d 270. The matter was considered by us on a motion to dismiss the appeal. See La.App., 117 So.2d 101.
*278The lands of Joseph M. Meraux are located on the left descending hank of the Mississippi River and form part of Corinne and Myrtle Grove Plantations in the Parish of St. Bernard about seven miles below Canal Street in the City of New Orleans. Plaintiff tendered defendant $818.27 for the right of way 964 feet in length and embracing 2.21 acres, which tender was refused. The judgment fixed the value of the right expropriated at $1,210, and defendant is seeking to have said amount increased.
For the reasons stated by us in the above-mentioned opinion,
It is ordered, adjudged and decreed that the judgment herein be affirmed.
Affirmed.
